                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              CASE NO. 3:19-CV-578

 PAUL MANOS and MARGARET
 MANOS

                                      Plaintiffs
                                                       OBJECTION TO BILL OF COSTS
                       v.

 FREEDOM MORTGAGE
 CORPORATION

                                    Defendant.

COME NOW Plaintiffs Paul and Margaret Manos, by and through counsel and hereby object to

the Defendant’s Bill of Costs:

1. Defendant Freedom Mortgage Corporation (Freedom) filed a Bill of Costs on June 30, 2022.

   (Doc 40).

2. It appears that Freedom’s Bill of Costs (Doc. 40-1) requested unnecessary and duplicated

   items.

3. First, Freedom requests $953.30 in process server expenses for subpoenas to third party

   witnesses. It is common to serve such subpoenas through registered mail or courier such as

   Federal Express. The total cost for service of all subpoenas should have been less than $100 if

   they were all necessary.

4. Next, Freedom served Truist Financial Corporation and Equifax Information Services with two

   subpoenas each by two separate process servers. This is redundant and unnecessary and the

   Plaintiff should not be required to pay for the error the Defendant made in its first service. No

   party should run up costs.




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5. Further, Freedom requests $535.00 for “reporter attendant fees.” (Doc. 40-1, p.1). This is not

   accurate. Cady Reporting charged Freedom $360.00 for the attendance fee. (Doc. 40-1, p.9).

   This is still an extravagant amount for a court reporter attendance, and Freedom should not

   request $535.00 for the attendance fee when it spent $360.00.

6. Finally, this is not the first time Freedom has made improper requests in this case. In the Fourth

   Circuit Freedom filed a Bill of Costs for the printing of transcripts, filing under oath that these

   were necessary costs.

7. At that time the Fourth Circuit’s Public Advisory Regarding Operating Procedures in Response

   to COVID-19 published on March 17, 2020, “suspend[ed] the requirement of paper copies of

   formal briefs and appendices pending further notice,” and so the Fourth Circuit denied

   Freedom’s Bill of Costs.

8. The Plaintiffs submit to the Court that only necessary and reasonable costs should be awarded

   and it was not necessary to send a process server to a corporation that has a noticing address

   on file with the Secretary of State and that routinely accepts notices of subpoena by mail, nor

   were multiple services of the subpoenas necessary.

WHEREFORE, Plaintiffs Paul and Margaret Manos respectfully request that the Court DENY

Freedom’s Bill of Costs, or reduce the costs awarded, and for such other and further relief as this

Court deems just and proper.


TODAY is July 28, 2022.

                                              /s/ M. Shane Perry
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                      WESTERN DISTRICT OF NORTH CAROLINA
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                              CASE NO. 3:19-CV-578

 PAUL MANOS and MARGARET
 MANOS

                            Plaintiff-Appellants
                                                          OBJECTION TO BILL OF COSTS
                       v.

 FREEDOM MORTGAGE
 CORPORATION

                            Defendant-Appellee.

                                 CERTIFICATE OF SERVICE

I hereby certify that I caused the foregoing Objection to Bill of Costs to be filed electronically
with the Clerk of the Court using the CM/ECF system, which will send notice of such filing to the
following participants in the case who are registered CM/ECF users:

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                                                                     .
Respectfully submitted today, July 28, 2022.

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